9 F.3d 977
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Rosita J. PACHIJO, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 93-7054.
    United States Court of Appeals, Federal Circuit.
    Aug. 9, 1993.
    
      Before RICH, Circuit Judge, COWEN, Senior Circuit Judge, and SCHALL, Circuit Judge.
      ON MOTION
      RICH, Circuit Judge.
    
    ORDER
    
      1
      The Secretary of Veterans Affairs moves to waive the requirements of Fed.Cir.R. 27(e) and to dismiss Rosita J. Pachijo's appeal for lack of jurisdiction.  Pachijo has not filed a response.
    
    
      2
      Pachijo seeks review of a decision of the United States Court of Veterans Appeals dismissing her appeal from the decision of the Board of Veterans Appeals as filed out of time.  Pachijo challenges only factual determinations or the application of a law or regulation to her claim, or raises a legal question that does not contest the validity of a statute or regulation, or the interpretation of a constitutional or statutory provision or a regulation.  No issue is raised that falls within the limited jurisdiction of this court under 38 U.S.C. Secs. 7292(c), (d)(1)-(2) (Supp.  III 1991).  See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).
    
    
      3
      Accordingly,
    
    IT IS ORDERED THAT:
    
      4
      (1) The Secretary's motion to waive the requirements of Fed.Cir.R. 27(d) is granted.
    
    
      5
      (2) The Secretary's motion to dismiss is granted.
    
    
      6
      (3) Each side shall bear its own costs.
    
    